THE MOTION IS GRANTED WITHOUT PREJUDICE TO THE FILING OF SO ORDERED.
A MOTION FOR RECONSIDERATION BY ANY PARTY.

                                                        Dated: April 8, 2019




                                                       ______________________________________
                                                       Madeleine C. Wanslee, Bankruptcy Judge




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